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IN THE UNITED STATES DISTRICT COURT h \ 00
FOR THE WESTERN DISTRICT OF TENNESSEE 00 AUG l 7 AH
EASTERN DIVISION _/HU g" l 3
-‘-'f'.
CATHY D. CASEY, )
)
Plaintif`f, )
)
VS, ) NO. 05-1043-T-An
)
J.R. WAUFORD & COMPANY )
CONSULTING ENGINEERS, INC., )
)
Defendant. )
ORDER OF DISMISSAL

 

On July 29, 2005, the court entered an order requiring Plaintiff to show cause why
this action should not be dismissed for failure to serve Defendant with process Plaintiff’s
counsel has responded to the order to show cause and asks that the action be dismissed
without prejudice on the ground that Plaintiff’s present whereabouts are unknown and her
counsel seeks to preserve to her rights

Fed. R. Civ. P. 4l(a)(l) allows a plaintiff to voluntarily dismiss her case, without
leave of court, “at any time before service by the adverse party of an answer or of a motion
for summary judgment, whichever first occurs” or by filing a stipulation of dismissal signed
by all the parties Otherwise, leave of court for a voluntary dismissal must be obtained
“upon such terms and conditions as the court deems proper.” Fed. R. Civ. P. 4l(a)(2).

Defendant has not filed an answer. Consequently, Plaintiff` is entitled to voluntarily

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wsm nine 55 and/or 79 (a) FncP on §

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dismiss the action without prejudice The clerk is directed to enter judgment accordingly

lT lS SO ORDERED.

m`??Es D. TODD
TED sTATEs DISTRICT JUDGE

/@ Waeas

DATE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 4 in
case l:OS-CV-OlO43 was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
Lexington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

